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'AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                           Southern District of Georgia                                               2 P 2
                                              Waycross Division
               United States of America                )
                           v.                          )
                                                       ) Case No: CR597-00003-002
                   Ronnie Lee Williams
                                                       ) USMNo: 09468-021
Date of Previous Judgment: December 16, 1997           ) Stephen G. Scarlett
(Use Date of Last Amended Judgment if Applicable)                ) Defendant's Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of       Jthe defendant     the Director of the Bureau of Prisons flthe court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
         DENIED.        GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of _______________ months is reduced to

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:         38                                  Amended Offense Level:                     36
Criminal History Category:      IV                                  Criminal History Category:                 Iv
Previous Guideline Range: _______ to Life months                    Amended Guideline Range                    to Life months
11. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
   The reduced sentence is within the amended guideline range.
R  The  previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
   Other (explain):




III. ADDITIONAL COMMENTS
Defendant's guideline range remains life because the statutorily required sentence in this case is life.




Except as provided above, all provisions of the judgment dated December 16, 1997                 shall remain in effect.
IT IS SO ORDERED.

Order Date
                                                                                          Judge's signature

                                                                    William T. Moore, Jr.
Effective Date: _______________________                             Chief Judge, U. S. District Court
                    (if different from order date)                                    Printed name and title
